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ERK, U.S. DISTHICT COURT

 
       

 

 

     

 

 

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UN.I:]_;.. o - oml_l__: _~.1-1§ .1 URT
CENTRAL DISTRICT O ' ALIFORNIA
SOUTHERN DIVISION
In re EMULEX CORPORATION Master File No.
SECURITIES LITIGATION SACV-01-219-GLT(ANX)
CLASS ACTION
This Doc ment Relates To:
u EMD] ORDER APPROVING
ALL ACTIONS. LAN OF ALLOCATION OF
* __ ..1.¢,.__.~.,1_.,_‘,, SETTLEMENT PROCEEDS

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"~'w. ‘- .-',¢ , .» -

DATE; September 22, 2003

 

TIME: 10:00 a.m.

 

 

 

 

 

.. Q1ED ' COURTROOM: The Honorable
EN 5 _~ Gary_L. Tay10r

 
 
 
  

 

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This matter having come before the Court on plaintiffs’ motion for approval of
the Plan of Allocation of settlement proceeds in the above-captioned action; the Court
having considered all papers filed and proceedings had herein; and otherwise being
fully informed in the premises;

IT IS HEREBY ORDERED, ADIUDGED AND DECREED that:

1 . For purposes of this Order, the terms used herein shall have the meanings

 

set forth in the Stipulation of Settlement dated as of July 3, 2003 (“Stipulation”).

2. Pursuam 10 and in compliance with Rule 23 ofthe Federa Rules ofcivil
Procedure, this Court hereby finds and concludes that due and adequate notice was
directed to all Persons and entities who are Class Members, advising them of the Plan
of Allocation and of their right to object thereto, and a full and fair opportunity was
accorded to all Persons and entities who are Class Members to be heard with respect
to the Plan of Allocation. g

3. The Court hereby finds and concludes that the formula for the calculation
of the claims of Authorized Claimants which is set forth in the Memorandum of Points
and Authorities in Support of Motion for Final Approval of Settlement and Plan of
Allocation of Settlement Proceeds and in the Notice of Pendency and Proposed
Settlement of Class Action (“Notice”) sent to Class Members provides a fair and
reasonable basis upon which to allocate the proceeds of the Settlement Fund
established by the Stipulation among Class Members, With due consideration having
been given to administrative convenience and necessity. This Court hereby finds and
concludes that the Plan of Allocation set forth in the Notice is, in all respects, fair,
reasonable and adequate and the Court her y approves the Plan of Allocation.

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DATED: lo/ l 51_@\ ’

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Case 840

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DECLARATION OF SERVICE BY FEDERAL EXPRESS DELIVERY

I, the undersigned, declare:

1. _ That declarant is and was, at all times herein mentioned, a citizen of the
United States and a resident of the County of San Diego, over the age of 18 years, and
not a party to or interest in the within action; that declarant’s business,address is 401 B
Street, Suite 1700, San Diego,' California 92101.

2. That on Septembcr 12, 2003, declarant served by FEDERAL EXPRESS,
next day delivery, the [PROPOSED] ORDER APPROVING PLAN OF

ALLOCATION OF SETTLEMENT PROCEEDS to the parties listed on the attached

 

Service List.

I declare under penalty of perjury that the foregoing is true and correct.
,Executed this 12th day of September, 2003, at San Diego, California.

wr»\:lQ

ETTE D. GRAY 0

 

 

 

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EN|ULEX (LEAD)

Service List - 5/9/2003 1201-040)
Page1 of 1

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